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               EXHIBIT B
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May 25, 2011

VIA E-MAIL

Mr. Patrck Klngman
Shephard, Finkelman, Miler & Shah
65 Main Street
Chester, CT 06412

          Reo' Schnabel et at v. Trilegiant et at, No. lO-cv-0957 (D. Conn.)

Dear Patrick:

       This letter follows up on our meet and confer discussion of May 2, 2011, in which we
discussed Defendants' responses and objections to Plaintiffs' first requests for production of
documents. Based upon our discussions, Defendants wil produce documents as follows.

          Request Nos. 1.36-39. These document requests seek "any and all documents"
produced by Defendants to the United States Senate's Committee on Commerce, and in lawsuits
brought against Defendants years ago. As we informed you, we believe that such broad,
undifferentiated requests for all documents produced in prior proceedings are improper without
some explanation of how the issues in the prior proceedings are relevant to the curent lawsuit
and why, in any event, Plaintiffs would categorically be entitled to all documents of whatever
nature produced in those other matters. You agreed to make this request more specific by
providing us with a list of categories of documents you believe are relevant to ths lawsuit, and
we agreed to review the prior productions to see what, if any, documents from those productions
fall into the categories you identify. We have not yet received such a list from you.

        Request Nos. 2 and 3. Defendants wil produce documents responsive to these requests
relating to the Great Fun program in which Plaintiffs Edward Schnabel and Brian Schnabel
enrolled.

          Request No.4. You clarfied that this request calls for documents that disclose how
Defendants market their products to consumers and attempt to convince them to enroll in their
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membership programs. Defendants refer you to our responses and the documents Defendants
wil be providing in response to Nos. 2-3, 12, 14, 16, 18,31-32.

         Reauest No.5. You told us that Plaintiffs are seeking to lear who was in charge of
marketing strategy and who made the decisions to employ parcular marketing methods. In lieu
of producing organizational chars, Defendants propose identifyng one or more "persons most
knowledgeable" about marketing strategies. Please let us know if you are agreeable to
proceeding in ths fashion.

      Reauest No.6. We regard this request as overbroad, because it is not limited to
complaints that have some relation to the allegations in the complaint (i.e., complaints by
consumers who allege that they did not consent to enroll in Great Fun or who were enrolled
without their knowledge). We also believe that this request seeks documents that are not
relevant or reasonably likely to lead to the discovery of admissible evidence. Plaintiffs have or
wil be provided with documents and enrollment screens detailng the process by which
consumers enrolled in the Great Fun program, including the disclosures made by Defendants at
that time.

       Reauest No.7. Defendants agreed to produce all web pages and lined pages for the
Great Fun program in which Plaintiffs Edward Schnabel and Brian Schnabel enrolled.

       Reauest Nos. 8-11. You said the kind of financial information you are asking for is
generally the kind discussed in the Senate report, i.e., how much revenue and profit Defendants
eared from sellng their products. As we discussed in our call, Defendants believe that financial
information of this kind is relevant (if at all) only to the issue of damages, and is prematue at
this point, when no class has been certified.

      Request No. 12. You clarfied that this request seeks marketing agreements or similar
agreements between Defendants and their third pary marketing parers. Weare considering
this revised request and wil get back to you no later than Friday.

       Reauest No. 13. We did not specifically discuss this request in our meet and confer call.
We reiterate our prior objections to this request.

         Request No. 14. You clarfied that ths request seeks documents that were provided to
customers by any means after they enrolled in the Membership Programs. Defendants wil
produce such. responsive documents relating to the Great Fun program in which Plaintiffs
Edward and Brian Schnabel enrolled.

       Reauest No. 15. You clarfied that this request seeks documents related to Defendants'
procedures for handling cancellation requests, and that the request does not seek documents
specific to any partcular customer. As clarfied, we believe that this request seeks documents
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that are neither admissible nor reasonably likely to lead to the discovery of relevant information.
Plaintiffs' complaint challenges the means by which Defendants enrolled them in the Great Fun
program. It does not challenge Defendants' post~enrollment services. When Edward and Brian
Schnabel requested cancellation of  their Great Fun memberships, Defendants complied with their
request and ceased all furter charges, consistent with the Great Fun membership agreement, and
furter provided refunds. We do not understand Plaintiffs to challenge this cancellation, and
therefore we do not believe that Defendants' procedures for handling cancellation requests are
relevant to any issue in the case.

         Reauest No. 16. You told us that this request seeks documents relating to all kinds of
enrollment methods, e.g., online, direct mail, telemarketing, etc. We reiterate that we believe
that this request is overbroad because Plaintiffs' complaint deals only with allegedly deceptive
marketing by means of on-line data pass, which is a very specific type of marketing that differs
markedly from other forms of marketing, such as telemarketing and direct maiL. Defendants
will produce documents responsive to ths request (if any) relating to this form of marketing.

         Reauest No. 17. Defendants wil produce a list of   the membership programs owned and
operated by Defendants.

       Reauest No. 18. You clarfied that Plaintiffs are seeking documents that would have
been used in presentations to marketing parers or prospective marketing parers (and not, e.g.,
documents used in presentations to investors or potential investors). We wil produce documents
responsive to this request related to presentations to Beckett.com and Priceline.com for the Great
Fun program.

       Reauest No. 19. You said this request could be treated the same as Request No. 18, and
we refer you to our response above.

       Reauest No. 20. You said that request could be treated the same as Request No.6, and
we refer you to our response above.

         Reauest Nos. 21-22. We agreed that these requests are subsumed into Request Nos. 6
and 20, and we refer you to our responses above.

        Reauest No. 23. Following our discussion, we reiterate that we do not believe that
documents related to "the rate at which members use the benefits" offered by the membership
programs are potentially relevant to any claim or defense in this lawsuit. As with any product or
service, some people who buy it wil use it, and some wil not. This says little if anything about
how the product was marketed. Furher, for a program such as Great Fun, Trilegiant is unaware
of the actual rate at which members avai themselves of the benefits offered by the program,
given that the program benefits are available through downloadable coupons and though
discounts provided directly by merchants to Great Fun members.
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          Reauest No. 24. We agreed that ths request is subsumed into Request No. 13 for
present puroses. We refer you to our response above.

          Reauest No. 25.        We agreed to produce this document.

          Request No. 26. We agreed that this request is subsumed into Request No. 16, and
we refer you to our response above.

          Reauest Nos. 27-29. We agreed to produce documents responsive to these requests.

        Reauest No. 30. You said this request calls for relate to a "metrc" that comes out of
the Senate report. We continue to believe that this request is overbroad and that the documents
requested are not potentially relevant to any claim or defense in this lawsuit. In particular, a
member could cancel his or her membership for any number of reasons, nor does the amount of
time a customer was enrolled in a membership program say anything about how the program was
marketed.

       Reauest Nos. 31-32. You clarfied that Plaintiffs seek documents regarding any
incentives call center employees can receive based on their interactions with clients. We
continue to believe that any such documents are not potentially relevant to any claim or defense
in ths lawsuit. Nevertheless, we are investigating to determne whether any such incentives
were even provided, and wil get back to you on that issue shortly.

          Reauest Nos. 33-35. We agreed to produce documents responsive to these requests.

          Because the documents Defendants wil produce may contain information that is
confidential and/or proprietary, or may contain private information about Defendants' customers,
we intend to produce documents subject to the entry of an appropriate protective order. We
regard Judge Hall's standing protective order as sufficient for this purose. Please let me know
if   Plaintiffs agree to proceed pursuant to Judge Hall's standing protective order.

          As we have discussed, Defendants wil produce responsive documents on a rollng basis
beginnng within the next one to two weeks. Of course, we are available to discuss any
questions or concerns you may have regarding the issues raised in this letter.

                                                 Sincerely,


                                                  ;kla
                                                 Kenneth M. Kliebard

KMK/
